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      Attorney General of California
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      Supervising Deputy Attorney General
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  4    300 South Spring Street, Suite 1702
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  5    Telephone: (213) 269-6668
       E-mail: William.Setrakian@doj.ca.gov
  6   Attorneys for Attorney General Rob Bonta

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  8                              IN THE UNITED STATES DISTRICT COURT
  9                               FOR THE EASTERN DISTRICT OF TEXAS
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 11
      EXXON MOBIL CORPORATION,                                  1:25-cv-11-MJT
 12
                                Plaintiff, DECLARATION OF ROBERT
 13                                        WILLIAM SETRAKIAN IN SUPPORT
                 v.                        OF DEFENDANT ATTORNEY
 14                                        GENERAL ROB BONTA’S MOTION TO
                                           DISMISS
 15   ROBERT ANDRES BONTA A.K.A. ROB
      BONTA, IN HIS INDIVIDUAL             Judge:        Hon. Michael Truncale
 16   CAPACITY, ET AL.,                    Action Filed: January 6, 2025
 17                                           Defendants.
 18
            I, Robert William Setrakian, declare:
 19
         1. I am a member of the California State Bar, a Deputy Attorney General for the State of
 20
      California, and counsel for Defendant Attorney General Rob Bonta in this case.
 21
         2. Attached as Exhibit A is a true and correct copy of the Complaint in People of the State of
 22
      California ex rel. Rob Bonta, Attorney General of California v. ExxonMobil Corporation, Case
 23
      No. CGC-24-618323, filed in San Francisco Superior Court on September 23, 2024. A request
 24
      for judicial notice is being filed alongside this declaration.
 25
         3. Attached as Exhibit B are two screenshots of Attorney General Bonta’s social media pages,
 26
      one of the @RobBonta X account, and the other of the RobBonta Instagram account. I took these
 27
      screenshots on January 30, 2025 and verified that their contents had not changed on April 23,
 28
                                                            1
       Declaration of Robert William Setrakian in Support of Defendant Attorney General Rob Bonta’s Motion to Dismiss
                                                                                                    (1:25-cv-11-MJT)
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  1   2025. They come from the following links: https://x.com/RobBonta;

  2   https://www.instagram.com/robbonta/?hl=en. A request for judicial notice is being filed

  3   alongside this declaration.

  4         I declare under penalty of perjury that the above statements are true and correct. Executed

  5   this 24th day of April, 2025 in Los Angeles, California.

  6                                                                                 /s/______________________
                                                                                        Robert William Setrakian

  7                                                                                     Robert William Setrakian

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       Declaration of Robert William Setrakian in Support of Defendant Attorney General Rob Bonta’s Motion to Dismiss
                                                                                                    (1:25-cv-11-MJT)
